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                                                  HONORABLE ROBERT S. LASNIK




                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF WASHINGTON
                             AT SEATTLE


UNITED STATES OF AMERICA,
                                                NO. CR04-0524 RSL
                   Plaintiff,
                                                ORDER CONTINUING TRIAL
            v.
                                                CLERK’S ACTION REQUIRED
TOM JULIEN TOMASCZEWSKI,

                   Defendant.




     THE COURT having considered the entirety of the records and files herein,

     FINDS AND RULES AS FOLLOWS:

     1.     This case is currently set for trial on July 11, 2005.

     2.     Defense counsel, Douglas Hiatt, has informed the Court that he is

            undergoing a family emergency, specifically that his mother, who was


[PROPOSED] ORDER CONTINUING                                                 DOUGLAS HIATT
TRIAL                                                                       1800 SEATTLE TOWER
                                                                              1218 THIRD AVENUE
                                                                     SEATTLE, WASHINGTON 98101
                                                                (206) 262-9699 • FAX: (206) 622-3848
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               terminally ill, has passed away. As a result, Mr. Hiatt is unable to prepare

               this case for trial, or finalize a settlement, at this time.

       3.      Defendant Tomasczewski is out of custody, residing in California. This

               distance has further hampered Mr. Hiatt’s efforts to prepare or resolve this

               case by the current trial date, in light of his need to be in the hospital with

               his mother and to deal with her death.

       4.      As a result of his family emergency, counsel for Defendant Tomasczewski

               requests a trial continuance to August 8, 2005. The United States, by and

               through Assistant US Attorney Sarah Vogel, does not oppose this request.

       5.      On July 7, 2005, Defendant Tomasczewski filed a written speedy trial

               waiver, which waives time through September 29, 2005, with the court via

               ECF.

       IT IS HEREBY ORDERED that the trial date shall be continued from July 11,

2005 to August 8, 2005.

       IT IS HEREBY ORDERED that the period of time between July 11, 2005, until

the new trial date shall be excluded from computation under 18 U.S.C. §§ 3161(h)(8)(A),

and 3161(h)(8)(B)(i) and (iv), because of defense counsel’s family emergency, his need

for more time for effective trial preparation or resolution, and to preserve continuity of

counsel, taking into account the exercise of due diligence, because it is unreasonable

under these circumstances to expect adequate preparation for trial.

       THE COURT FURTHER FINDS that the ends of justice served by this

continuance outweigh the best interest of the public and Defendant in a speedy trial.

[PROPOSED] ORDER CONTINUING                                                       DOUGLAS HIATT
TRIAL                                                                           1800 SEATTLE TOWER
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           DONE IN OPEN COURT this 11th day of July, 2005.




                                                    A
                                                    Robert S. Lasnik
                                                    United States District Judge



                                                    Presented by:
                                     Defendant Tom Tomasczewski,
                                     Represented by:
                                           DOUGLAS HIATT, Attorney at Law
                                                                s/ Douglas Hiatt
                                                                 WSBA #21017
                                                 1218 Third Avenue, Suite 1800
                                                     Seattle, Washington 98101
                                                           Phone 206-262-9699
                                                              Fax 206-622-3848
                                                           douglas@surlaw.com


                                                    Approved for entry:
                                     Plaintiff, United States, represented by:
                                     UNITED STATES ATTORNEY’S OFFICE
                                      s/Sarah Vogel, per telephonic authorization
                                                                     WSBA#35966
                                                     700 Stewart Street, Suite 5220
                                                        Seattle, Washington 98101
                                                               Phone 206-553-1206
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                                                            sarah.vogel@usdoj.gov




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